Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page11ofof29
                                                                     29




                          FOR PUBLICATION

               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT



          WILL EVANS; THE CENTER FOR             No. 20-16416
          INVESTIGATIVE REPORTING,
                         Plaintiffs-Appellees,      D.C. No.
                                                 4:19-cv-01843-
                           v.                        KAW

          SYNOPSYS, INC.,
                        Intervenor-Appellant,

                          and

          U.S. DEPARTMENT OF LABOR,
                        Defendant-Appellee.


          WILL EVANS; THE CENTER FOR             No. 20-16538
          INVESTIGATIVE REPORTING,
                  Plaintiffs-Cross-Appellants,      D.C. No.
                                                 4:19-cv-01843-
                           v.                        KAW

          SYNOPSYS, INC.,
                  Intervenor-Cross-Appellee,

                          and

          U.S. DEPARTMENT OF LABOR,
                                Defendant.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page22ofof29
                                                                     29




         2                       EVANS V. SYNOPSYS


          WILL EVANS; THE CENTER FOR                      No. 20-16826
          INVESTIGATIVE REPORTING,
                                  Plaintiffs,               D.C. No.
                                                         4:19-cv-01843-
                               v.                            KAW

          SYNOPSYS, INC.,
                  Intervenor-Cross-Appellee,                OPINION

                               and

          U.S. DEPARTMENT OF LABOR,
                  Defendant-Cross-Appellant.

                     Appeal from the United States District Court
                        for the Northern District of California
                   Kandis A. Westmore, Magistrate Judge, Presiding

                        Argued and Submitted October 4, 2021
                              San Francisco, California

                                 Filed May 12, 2022

              Before: Richard R. Clifton and Michelle T. Friedland,
             Circuit Judges, and Michael J. McShane, * District Judge.

                             Opinion by Judge Friedland




               The Honorable Michael J. McShane, United States District Judge
               *

         for the District of Oregon, sitting by designation.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page33ofof29
                                                                     29




                                 EVANS V. SYNOPSYS                            3

                                   SUMMARY **


                     Timely Notice of Appeal / Intervenor

             The panel dismissed for lack of appellate jurisdiction
         prospective intervenor Synopsys, Inc.’s untimely appeal of
         the district court’s grant of summary judgment in favor of
         The Center for Investigative Reporting (“CIR”); and
         dismissed as moot CIR’s and the U.S. Department of Labor
         (“DOL”)’s cross-appeals.

             CIR brought a FOIA action against DOL, claiming that
         DOL was improperly withholding workforce demographic
         data that Synopsys and other companies had submitted
         pursuant to federal-contractor reporting regulations. The
         district court granted CIR summary judgment. Seven weeks
         after that judgment was entered, and eleven days before the
         deadline to file a notice of appeal, Synopsys moved to
         intervene as a defendant. About five months after the
         deadline for filing a notice of appeal of the judgment, the
         district court denied Synopsys’s motion to intervene for the
         purpose of asserting a crossclaim but granted Synopsys
         limited intervention for the sole purpose of appealing the
         judgment. Synopsys then filed a notice of appeal from the
         judgment.

            The district court had granted CIR’s motion for summary
         judgment on December 10, 2019, and entered judgment the
         same day. The deadline for a party to file a notice of appeal
         was February 10, 2020. See 28 U.S.C. § 2107(b); Fed. R.


             **
                This summary constitutes no part of the opinion of the court. It
         has been prepared by court staff for the convenience of the reader.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page44ofof29
                                                                     29




         4                    EVANS V. SYNOPSYS

         App. P. 26(a)(1)(C). Synopsys filed a notice of appeal on
         July 22, 2020.

              The panel held that Synopsys failed to timely appeal the
         district court’s grant of summary judgment. Synopsys
         argued that the time to appeal prescribed by § 2107(b)
         applies only to parties and not to prospective intervenors.
         The panel disagreed. Although generally only parties may
         appeal an adverse judgment, it does not follow that the
         deadline to file a notice of appeal for prospective intervenors
         is different from the deadline for parties. The text of § 2107
         foreclosed Synopsys’s argument. The panel held that all
         litigants in a given case face the same jurisdictional deadline
         to file a notice of appeal under § 2107. The deadline runs
         from the entry of the judgment being appealed.              For
         Synopsys’s appeal to be timely, it must have either extended
         its time to file a notice of appeal or filed a notice of appeal
         by the statutory deadline of February 10, 2020.

             The panel rejected Synopsys’s argument that the district
         court properly extended Synopsys’s time to appeal. The
         district court twice stated that Synopsys’s time to appeal was
         being preserved. The panel held that Fed. R. App. P. 26(b)
         makes clear that Fed. R. App. P. 4 provides the only
         mechanism by which a litigant may request, and a court may
         grant, an extension to file a notice of appeal. Here, Synopsys
         needed to seek an extension under Rule 4(a)(5) by March 11,
         2020. Synopsys never filed a formal motion requesting an
         extension of time to appeal. The panel held that the
         extension mechanism of Rule 4(a)(5) was available to a
         prospective intervenor who had not yet been granted party
         status. The panel further held that Synopsys failed to file a
         document that complied with the requirements of Rule
         4(a)(5). The district court could not construe Synopsys’s
         motion to intervene or the emergency motion for a stay as a
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page55ofof29
                                                                     29




                              EVANS V. SYNOPSYS                       5

         motion to extend the time to file a notice of appeal under
         Rule 4(a)(5).      The district court’s statements about
         preserving Synopsys’s time to appeal were therefore
         ineffective, and the panel rejected Synopsys’s argument that
         DOL and CIR forfeited their objection by not making it
         sooner.

             The panel rejected Synopsys’s argument in the
         alternative that its motion to intervene and brief in support
         of that motion, both filed eleven days before the deadline to
         appeal the judgment, should be construed as a timely notice
         of appeal. The panel held that Synopsys’s motion to
         intervene could not be construed as a notice of appeal
         because that motion did not satisfy the requirements of Fed.
         R. App. P. 3. Because Synopsys was still actively seeking
         substantive relief from the judgment in the district court, its
         motion to intervene logically would not have been a notice
         of appeal.

             The panel held that because Synopsys did not file a
         timely notice of appeal of the judgment in favor of CIR, this
         court lacked jurisdiction to hear the merits of that appeal.
         This determination mooted DOL’s and CIR’s cross-appeals
         of the district court’s decision to grant Synopsys intervention
         to appeal the judgment.

             The panel concurrently filed a memorandum disposition
         resolving additional matters raised by the parties.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page66ofof29
                                                                     29




         6                  EVANS V. SYNOPSYS

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         United States of America.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page77ofof29
                                                                     29




                              EVANS V. SYNOPSYS                        7

                                   OPINION

         FRIEDLAND, Circuit Judge:

             This case began as a straightforward Freedom of
         Information Act (“FOIA”) dispute, but it now presents a
         surprisingly complex civil procedure question: Did
         Synopsys, a prospective intervenor, file a timely notice of
         appeal?

             Will Evans and The Center for Investigative Reporting
         (collectively, “CIR”) brought a FOIA action against the U.S.
         Department of Labor (“DOL”), claiming that DOL was
         improperly withholding workforce demographic data that
         Synopsys and other companies had submitted pursuant to
         federal-contractor reporting regulations. The district court
         agreed and granted CIR summary judgment. Seven weeks
         after that judgment was entered—and eleven days before the
         deadline to file a notice of appeal—Synopsys moved to
         intervene as a defendant. Synopsys sought to assert a
         crossclaim against DOL and to appeal the district court’s
         grant of summary judgment, if that judgment withstood its
         crossclaim. About five months after the deadline for filing a
         notice of appeal of the judgment, the district court denied
         Synopsys’s motion to intervene for the purpose of asserting
         the crossclaim but granted Synopsys limited intervention for
         the sole purpose of appealing the judgment. Synopsys then
         filed a notice of appeal of the judgment. CIR and DOL filed
         notices of cross-appeal of the district court’s partial grant of
         Synopsys’s motion to intervene.

            For the reasons below, we hold that Synopsys failed to
         timely appeal the district court’s grant of summary
         judgment. We therefore dismiss Synopsys’s appeal of that
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page88ofof29
                                                                     29




         8                      EVANS V. SYNOPSYS

         judgment for lack of appellate jurisdiction, and we dismiss
         as moot CIR’s and DOL’s cross-appeals. 1

                                           I.

              In early 2018, Will Evans, a reporter employed by CIR,
         was investigating diversity in the technology industry. He
         submitted a FOIA request to DOL, seeking reports
         containing the employment data of fifty-five federal
         contractors (“EEO-1 reports”). An EEO-1 report contains a
         one-page table that breaks down a company’s U.S.
         workforce by job category, sex, and race. Many federal
         contractors, including Synopsys, must file an EEO-1 report
         every year with DOL. See 41 C.F.R. § 60-1.7(a). DOL uses
         EEO-1 reports to monitor compliance with an executive
         order prohibiting employment discrimination by federal
         contractors. See Exec. Order No. 11,246, 30 Fed. Reg.
         12,319 (Sept. 28, 1965). DOL informed CIR that, of the
         fifty-five companies listed in the FOIA request, DOL had
         identified responsive EEO-1 reports from thirty-six.

             DOL notified the relevant companies that it had received
         a FOIA request for their EEO-1 reports. DOL told the
         companies that it believed the reports could be released but
         that, pursuant to DOL regulation, it was providing them an
         opportunity to object “on grounds that specific information
         contained therein is exempt from mandatory disclosure such

             1
               Synopsys has also appealed the partial denial of its motion to
         intervene. We resolve that appeal in a memorandum disposition filed
         concurrently with this opinion. Additionally, in a separate action,
         Synopsys brought a claim against DOL that was substantively identical
         to the crossclaim it was attempting to bring as an intervenor in the
         original FOIA action. We resolve the appeal of that action in the same
         memorandum disposition. See Synopsys, Inc. v. U.S. Dep’t of Labor,
         Case No. 20-16414.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page99ofof29
                                                                     29




                              EVANS V. SYNOPSYS                      9

         as Exemption 4 of the FOIA.” Exemption 4 covers “trade
         secrets and commercial or financial information obtained
         from a person and privileged or confidential.” 5 U.S.C.
         § 552(b)(4). Twenty of the thirty-six companies, including
         Synopsys, submitted written objections to the release of their
         reports. In response, DOL agreed that their reports were
         “exempt from mandatory disclosure pursuant to Exemption
         4 of the FOIA” and that DOL would decline to release them.
         DOL then sent CIR the non-objecting companies’ reports.

             By April 2019, DOL was still withholding the twenty
         EEO-1 reports. CIR concluded that it had exhausted its
         administrative remedies and filed a Complaint for injunctive
         relief in the United States District Court for the Northern
         District of California.

             As the litigation progressed, more companies consented
         to the release of their EEO-1 reports. By August 2019, ten
         reports—including Synopsys’s—remained undisclosed.
         CIR and DOL filed cross-motions for summary judgment on
         whether DOL could withhold the undisclosed reports under
         FOIA Exemption 4 as records that contained “commercial
         information” that was “confidential.”

             In a December 10, 2019 summary judgment order, the
         district court granted CIR’s motion for summary judgment
         and denied DOL’s. It entered judgment for CIR the same
         day. The court ordered DOL to disclose the remaining EEO-
         1 reports within thirty days. Consistent with a stipulation by
         the parties, the court extended DOL’s disclosure deadline so
         it coincided with the deadline to appeal the judgment:
         February 10, 2020.

            DOL subsequently informed Synopsys that it had
         decided not to appeal. Two days later, on January 30, 2020,
         Synopsys took three litigation steps. First, it moved to
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page10
                                                               10ofof29
                                                                      29




          10                      EVANS V. SYNOPSYS

          intervene in the FOIA action, explaining that it sought
          intervenor status to assert a reverse-FOIA crossclaim against
          DOL and to appeal the judgment if it did not prevail on that
          crossclaim. 2 Second, Synopsys filed an emergency motion
          in the district court to stay the release of the EEO-1 reports.
          Third, Synopsys filed a new action with a reverse-FOIA
          claim substantively identical to the crossclaim it was
          attempting to bring against DOL in the FOIA action. CIR
          and DOL opposed Synopsys’s motion to intervene.

             On February 4, 2020—six days before the deadline to
          appeal the judgment—the district court granted Synopsys’s
          emergency motion for a stay. The court wrote: “This stay
          prevents the disclosure of the EEO-1 [reports] that was
          scheduled to occur on February 10, 2020, and preserves
          Synopsys’s time to appeal the [summary judgment] order
          should the motion to intervene be ultimately granted in
          whole or in part.” 3 The February 10 appeal deadline then
          passed without Synopsys or anyone else filing a notice of
          appeal.

              Briefing on the motion to intervene was completed in
          early March of 2020. About a month later, DOL filed a
          motion for leave to file a supplemental brief, in which it
          reasoned that Synopsys’s time to appeal that judgment had
          expired, and Synopsys had also missed the deadline to move
          to extend its time to appeal. CIR later joined that argument.

               2
                A reverse-FOIA claim asserts under the Administrative Procedure
          Act that an agency’s disclosure of records would be “not in accordance
          with law.” 5 U.S.C. § 706(2)(A).
               3
                 The district court later clarified that its stay applied only to
          Synopsys’s EEO-1 report. DOL disclosed the other nine companies’
          reports, and Synopsys’s report became the only EEO-1 report within
          DOL’s possession that CIR had requested and still not received.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page11
                                                               11ofof29
                                                                      29




                               EVANS V. SYNOPSYS                      11

          Synopsys opposed, arguing that because it had not yet been
          granted party status, it did not have an appeal deadline and
          could not have sought an extension of its time to appeal. The
          district court denied DOL’s motion to file the supplemental
          brief and did not opine on the merits of DOL’s argument,
          writing that “the issue regarding the timeliness of an appeal
          is typically adjudicated by the Court of Appeals.”

              In July 2020, the district court ruled on Synopsys’s
          motion to intervene. The court denied the motion as
          untimely to the extent intervention was sought to assert a
          crossclaim. The court did, however, grant Synopsys
          intervenor status for the limited purpose of appealing the
          judgment. The court further stated: “The stay in this case
          shall be lifted in 7 days, after which Synopsys shall have
          6 days to timely file a notice of appeal.”

              Two days later, on July 22, 2020, Synopsys filed a notice
          of appeal of the judgment. CIR and DOL then each filed a
          timely notice of cross-appeal, challenging the order granting
          Synopsys intervention to appeal the judgment. The court
          entered an order, pursuant to a stipulation by the parties,
          keeping the stay in place pending the appeals.

                                        II.

              We must determine whether Synopsys’s appeal of the
          judgment is timely. The district court granted CIR’s motion
          for summary judgment on December 10, 2019 and entered
          judgment the same day. The deadline for a party to file a
          notice of appeal was February 10, 2020. See 28 U.S.C.
          § 2107(b); Fed. R. App. P. 26(a)(1)(C). Synopsys filed a
          notice of appeal on July 22, 2020. Synopsys nonetheless
          urges us to hold that its appeal is timely. It argues primarily
          that the time to appeal prescribed by § 2107(b) applies only
          to parties and not to prospective intervenors. Synopsys also
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page12
                                                               12ofof29
                                                                      29




          12                    EVANS V. SYNOPSYS

          advances two alternative arguments: first, that the district
          court acted within its authority to extend Synopsys’s time to
          appeal by construing its motion to intervene or its motion for
          an emergency stay as a motion to extend its time to appeal,
          and second, that Synopsys’s motion to intervene was itself a
          timely notice of appeal. We reject all these arguments and
          accordingly dismiss this appeal as untimely.

                                         A.

              The Supreme Court has held that “an appeal filing
          deadline prescribed by statute will be regarded as
          ‘jurisdictional,’ meaning that late filing of the appeal notice
          necessitates dismissal of the appeal.”              Hamer v.
          Neighborhood Hous. Servs. of Chi., 138 S. Ct. 13, 16 (2017);
          see also Bowles v. Russell, 551 U.S. 205, 210 (2007) (“[T]he
          courts of appeals routinely and uniformly dismiss untimely
          appeals for lack of jurisdiction.”). As relevant here,
          Congress has prescribed:

                  Except as otherwise provided in this section,
                  no appeal shall bring any judgment, order or
                  decree in an action, suit or proceeding of a
                  civil nature before a court of appeals for
                  review unless notice of appeal is filed, within
                  thirty days after the entry of such judgment,
                  order or decree.

          28 U.S.C. § 2107(a); see also Fed. R. App. P. 4(a)(1)(A)
          (implementing § 2107(a)). Subsection (b) of § 2107 further
          provides that “the time as to all parties shall be 60 days from
          such entry” if one of the parties is the United States, a federal
          agency, or (under certain circumstances) a current or former
          federal employee. 28 U.S.C. § 2107(b); see also Fed. R.
          App. P. 4(a)(1)(B) (implementing § 2107(b)). Because
          DOL, a federal agency, is a party in this case, that subsection
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page13
                                                               13ofof29
                                                                      29




                                  EVANS V. SYNOPSYS                            13

          applied, and the deadline to appeal the judgment was
          February 10, 2020. 4

              Synopsys argues that it was not bound by that deadline
          and that its notice of appeal, filed more than five months
          later, was timely. Synopsys argues that the time to file a
          notice of appeal provided in § 2107(b) applies only to parties
          and not to prospective intervenors. It is “well settled,” as
          Synopsys points out, “that only parties to a lawsuit, or those
          that properly become parties, may appeal an adverse
          judgment.” United States ex rel. Alexander Volkhoff, LLC v.
          Janssen Pharmaceutica N.V., 945 F.3d 1237, 1241 (9th Cir.
          2020) (quoting Marino v. Ortiz, 484 U.S. 301, 304 (1988)
          (per curiam)). Synopsys argues that its time to file a notice
          of appeal of the judgment could not have expired before the
          district court granted its motion to intervene to appeal in July
          2020.

               We disagree. Although generally only parties may
          appeal an adverse judgment, it does not follow that the
          deadline to file a notice of appeal for prospective intervenors
          is different from the deadline for parties. Indeed, the text of
          § 2107 forecloses Synopsys’s argument to that effect. The
          first subsection of that statute contains no references to
          “parties” and states unequivocally that “no appeal shall
          bring any judgment, order or decree . . . before a court of
          appeals for review unless notice of appeal is filed, within
          thirty days after the entry of such judgment, order or decree.”
          28 U.S.C. § 2107(a) (emphasis added); see also Fed. R. App.
          P. 4(a)(1)(A) (containing no reference to parties and
          providing that “the notice of appeal required by Rule 3 must
              4
                Judgment was entered on December 10, 2019. Sixty days later was
          February 8, 2020. Because that date fell on a Saturday, by rule, the
          deadline was automatically extended to the end of the next business day:
          Monday, February 10, 2020. See Fed. R. App. P. 26(a)(1)(C).
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page14
                                                               14ofof29
                                                                      29




          14                    EVANS V. SYNOPSYS

          be filed with the district clerk within 30 days after entry of
          the judgment or order appealed from”). By the clear terms
          of § 2107(a), an appellate court cannot hear a civil appeal if
          a notice of appeal was not filed within the prescribed time—
          regardless of whether the litigant that failed to file that notice
          of appeal was a party or a prospective intervenor. And the
          statute unambiguously states that the time for filing a notice
          of appeal runs from “the entry of such judgment, order or
          decree” being appealed. That the district court did not rule
          on Synopsys’s motion to intervene until July 2020 does not
          change that the judgment Synopsys sought to appeal was
          entered on December 10, 2019. That date of entry triggered
          the running of the period to file a notice of appeal—for
          everyone.

               To be sure, subsection (b), which applied in this case,
          does refer to “parties,” providing that “the time as to all
          parties shall be 60 days from such entry if one of the parties
          is [the United States or a federal agency].” 28 U.S.C.
          § 2107(b) (emphasis added); see also Fed. R. App. P.
          4(a)(1)(B) (“The notice of appeal may be filed by any party
          within 60 days after entry of the judgment or order appealed
          from if one of the parties is [the United States or a federal
          agency].” (emphasis added)). But “the words of a statute
          must be read in their context and with a view to their place
          in the overall statutory scheme.” Home Depot U.S.A., Inc.
          v. Jackson, 139 S. Ct. 1743, 1748 (2019) (quoting Davis v.
          Mich. Dep’t of Treasury, 489 U.S. 803, 809 (1989)). When
          subsection (b) is read in the context of the statute as a whole,
          it is clear that the effect of that subsection is simply to change
          the deadline from thirty days to sixty days if the federal
          government is a party in the case. Even though the thirty-
          day deadline provided in subsection (a) does not apply in
          such cases, the rest of subsection (a) is still operative.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page15
                                                               15ofof29
                                                                      29




                                  EVANS V. SYNOPSYS                             15

              Synopsys’s position seems to be that the clock on its time
          to appeal—whether thirty days or sixty days—did not start
          running until the district court had formally made Synopsys
          a party by granting in part its motion to intervene. But that
          reading of the statute contravenes the plain language
          specifying that the deadline, whether prescribed by
          subsection (a) or subsection (b), runs from the date of entry
          of the judgment. Indeed, even if Synopsys were correct that
          subsection (b) binds only “parties” and not prospective
          intervenors, the most logical consequence of that position
          would be that a prospective intervenor like Synopsys would
          remain bound by the original thirty-day deadline in
          subsection (a)—not that Synopsys’s obligation to provide
          notice of appeal would become completely untethered from
          the date of the judgment’s entry. Our interpretation of
          § 2107 is that subsection (a) provides the rule for filing a
          notice of appeal and a default deadline of thirty days, while
          subsection (b) changes the deadline from thirty days to sixty
          days if the federal government is a party. We are not aware
          of any court that has held that § 2107 does not apply to
          prospective intervenors, 5 and we decline Synopsys’s
          invitation to be the first.

              We hold, therefore, that all litigants in a given case face
          the same jurisdictional deadline to file a notice of appeal

              5
                 Synopsys cites United Airlines, Inc. v. McDonald, 432 U.S. 385
          (1977), but that case does not support Synopsys’s interpretation of the
          statute. The Court in United Airlines held that “[p]ost-judgment
          intervention for the purpose of appeal has been found to be timely . . .
          [i]nsofar as the motions to intervene in these cases were made within the
          applicable time for filing an appeal.” Id. at 395 n.16. The Court’s
          decision addressed whether a litigant’s motion to intervene was timely,
          not whether a litigant’s notice of appeal was timely. The Court did not
          consider whether a prospective intervenor’s deadline to appeal was
          different from any other party’s deadline to appeal.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page16
                                                               16ofof29
                                                                      29




          16                        EVANS V. SYNOPSYS

          under § 2107. 6 That deadline runs from “the entry of [the]
          judgment, order or decree” being appealed. 28 U.S.C.
          § 2107(a). For Synopsys’s appeal of the judgment to be
          timely, Synopsys must have either extended its time to file a
          notice of appeal or filed a notice of appeal by the statutory
          deadline of February 10, 2020. We next consider whether
          Synopsys did either of those things.

                                               B.

              Even though Synopsys filed a notice of appeal more than
          five months after the statutory deadline, Synopsys offers two
          alternative arguments why its appeal is nonetheless timely.
          First, Synopsys argues that the district court properly


               6
                 Synopsys argues that a passage from a concurring opinion in
          Cameron v. EMW Women’s Surgical Ctr., P.S.C., 142 S. Ct. 1002
          (2022), supports treating its notice of appeal as timely. Justice Thomas
          wrote in that concurrence that “[a]s a nonparty, the [Kentucky] attorney
          general could not notice an appeal under Rules 3 and 4,” and therefore,
          “could not possibly have been obligated to do so, rather than pursue
          intervention.” Id. at 1015 (Thomas, J., concurring). For two reasons,
          that passage is not relevant here. First, as discussed above, the fact that
          only parties may generally pursue an appeal under Rules 3 and 4 does
          not mean that a potential intervenor’s deadline for filing a notice of
          appeal is different from that of existing parties. Second, the phrase
          “pursu[ing] intervention” in Justice Thomas’s concurrence refers to the
          Kentucky attorney general’s motion to intervene filed in the court of
          appeals after another party had already filed a timely notice of appeal.
          In EMW, the Supreme Court considered whether the Kentucky attorney
          general’s motion to intervene filed in the Sixth Circuit was
          jurisdictionally barred because it came after the time allowed for filing a
          notice of appeal of the district court’s decision (in fact, it came after the
          Sixth Circuit had issued its opinion on the merits). Id. at 1008–09
          (majority opinion). The Supreme Court’s holding that the Sixth Circuit
          had jurisdiction to rule on that intervention motion, id. at 1009, has no
          bearing on whether Synopsys’s notice of appeal of the district court’s
          judgment was timely.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page17
                                                               17ofof29
                                                                      29




                                  EVANS V. SYNOPSYS                           17

          extended Synopsys’s time to appeal. 7 Second, Synopsys
          argues that its motion to intervene should be construed as a
          timely notice of appeal. We reject both arguments.

                                            1.

              The district court twice stated that Synopsys’s time to
          appeal was being preserved. On February 4, 2020, after
          Synopsys filed its motion to intervene, but before the
          statutory deadline to appeal the judgment had passed, the
          district court entered a stay. In that order, the district court
          wrote that the stay “preserve[d] Synopsys’s time to appeal
          the [summary judgment] order should the motion to
          intervene be ultimately granted in whole or in part.” On July
          20, 2020, when the district court granted Synopsys
          intervention to appeal the judgment, the court said that “[t]he
          stay in this case shall be lifted in 7 days, after which
          Synopsys shall have 6 days to timely file a notice of appeal.”
          The parties dispute whether those statements by the district
          court had any effect on Synopsys’s deadline to file a notice
          of appeal.

              Section 2107 and Rule 4—the appellate rule that
          implements that statute—provide a mechanism to extend the
          time to file a notice of appeal. The statute says that “[t]he
          district court may, upon motion filed not later than 30 days
          after the expiration of the time otherwise set for bringing
          appeal, extend the time for appeal upon a showing of
          excusable neglect or good cause.” 28 U.S.C. § 2107(c). The
          implementing rule similarly provides that “[t]he district
          court may extend the time to file a notice of appeal if . . . a
          party so moves no later than 30 days after the time prescribed

              7
                Synopsys first made this argument in response to our questions at
          oral argument.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page18
                                                               18ofof29
                                                                      29




          18                     EVANS V. SYNOPSYS

          by this Rule 4(a) expires[] and . . . that party shows
          excusable neglect or good cause.” Fed. R. App. P.
          4(a)(5)(A). The appellate rules make clear that Rule 4
          provides the only mechanism by which a litigant may request
          and a court may grant an extension of time to file a notice of
          appeal. Fed. R. App. P. 26(b) (“[T]he court may not extend
          the time to file . . . a notice of appeal (except as authorized
          in Rule 4).”). 8 We have held that a litigant that seeks to avail
          itself of the rule must “explicitly request an extension of
          time” and that “a formal motion for extension [is] required
          by rule 4(a)(5).” Malone v. Avenenti, 850 F.2d 569, 572–73
          (9th Cir. 1988). Here, because the deadline to appeal the
          judgment was February 10, 2020, Synopsys needed to seek
          an extension under Rule 4(a)(5) by March 11, 2020.

              Synopsys never filed a formal motion requesting an
          extension of time to appeal. Nonetheless, the district court
          stated that Synopsys’s time to appeal the judgment would be
          preserved if Synopsys’s motion to intervene were granted.
          DOL and CIR argued in the district court and reiterate on
          appeal that the district court lacked authority to extend the
          deadline absent a motion from Synopsys that complied with
          Rule 4(a)(5). We must first decide whether the extension
          mechanism of Rule 4(a)(5) is even available to a prospective
          intervenor who has not yet been granted party status. If it is,
          we must decide whether the district court’s statements that
          Synopsys’s time to appeal would be preserved were effective
          despite DOL and CIR’s objection that Synopsys had not
          complied with Rule 4(a)(5)’s requirements for a motion to
          extend time.


               8
                 Rule 4(a)(6) implements a different provision of § 2107(c) and
          provides a mechanism for re-opening the time to file an appeal. That
          rule is inapplicable in this case, and no party has argued otherwise.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page19
                                                               19ofof29
                                                                      29




                               EVANS V. SYNOPSYS                      19

                                        a.

              DOL and CIR contend that, notwithstanding Rule
          4(a)(5)’s use of the word “party,” Synopsys could have and
          should have sought an extension of its time to appeal once it
          realized the district court would not resolve its motion to
          intervene before the deadline to file a notice of appeal.

              Although we have never addressed whether a
          prospective intervenor may file a motion for an extension of
          time under Rule 4(a)(5), other circuits have allowed it. The
          Seventh Circuit has expressly held that a prospective
          intervenor may “secure an extension of the appeal deadline”
          under Rule 4(a)(5). CE Design, Ltd. v. Cy’s Crab House N.,
          Inc., 731 F.3d 725, 728–29 (7th Cir. 2013). The Fifth Circuit
          has entertained an appeal after explicitly noting that a
          prospective intervenor sought and secured an extension of
          time to file a notice of appeal. Thurman v. FDIC, 889 F.2d
          1441, 1448 (5th Cir. 1989) (holding that “the extension of
          time [secured under Rule 4(a)(5)] was sufficient to preserve
          [a prospective intervenor’s] right to appeal”).

              We agree with those circuits and hold that a prospective
          intervenor may file a motion to extend its time to appeal
          under Rule 4(a)(5). The word “party” does not appear in the
          operative language of § 2107(c), which Rule 4(a)(5)
          implements. Compare 28 U.S.C. § 2107(c) (“The district
          court may, upon motion filed[,] . . . extend the time for
          appeal.”), with Fed. R. App. P. 4(a)(5)(A) (“The district
          court may extend the time to file a notice of appeal if . . . a
          party so moves.”). The statute therefore does not impose a
          jurisdictional bar to hearing an appeal that comes to us after
          a prospective intervenor has secured an extension under
          § 2107(c) and Rule 4(a)(5). See Hamer, 138 S. Ct. at 16
          (noting that appeal filing requirements will be regarded as
          “jurisdictional” only if they are “prescribed by statute”).
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page20
                                                               20ofof29
                                                                      29




          20                      EVANS V. SYNOPSYS

          And, in fact, we have already held that a prospective
          intervenor whose motion to intervene has been denied can
          file a notice of appeal of that denial pursuant to Rule 4(a)(1).
          See, e.g., Citizens for Balanced Use v. Mont. Wilderness
          Ass’n, 647 F.3d 893, 896 (9th Cir. 2011). The word “party”
          as used in Rule 4(a) therefore must be broad enough to
          encapsulate, at least in some circumstances, individuals and
          entities who are seeking to intervene to become parties. See
          Thurman, 889 F.2d at 1448 (rejecting as “meritless” the
          contention that “an intervenor whose motion to intervene is
          denied is not a ‘party’ under [Rule] 4(a)(4)”). We see no
          reason why “party” in Rule 4(a)(5) should be interpreted to
          exclude prospective intervenors who are seeking to become
          parties. 9

                In any event, a prospective intervenor, in almost every
          circumstance, will have attained party status by the time the
          motion to extend time is granted. Rule 4(a)(5) states that a
          “district court may extend the time to file a notice of appeal
          if . . . a party so moves no later than 30 days after [the
          deadline to file a notice of appeal] expires.” Fed. R. App. P.
          4(a)(5)(A). The rule further provides that “[n]o extension
          . . . may exceed 30 days after the prescribed time or 14 days
          after the date when the order granting the motion is entered,
          whichever is later.” Fed. R. App. P. 4(a)(5)(C). Thus, the
          rule prescribes a deadline by which a party must move for an
          extension, as well as a limit on how much a district court
          may extend the deadline if it grants the motion. But the rule

               9
                  Interpreting “party” in Rule 4(a)(5) to include prospective
          intervenors is consistent with our interpretation of subsections (a) and
          (b) of § 2107, as well as Rule 4(a)(1)(A) and Rule 4(a)(1)(B), discussed
          in section II.A. Because prospective intervenors seeking to appeal a
          judgment face the same appellate deadline as parties, it makes sense that
          prospective intervenors, like parties, should be able to extend that
          deadline for good cause.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page21
                                                               21ofof29
                                                                      29




                                 EVANS V. SYNOPSYS                           21

          does not set any deadline by which a district court must
          decide that motion. Therefore, it makes sense for a district
          court, needing time to decide a motion to intervene, to leave
          unresolved any motion to extend time filed by a prospective
          intervenor until the court is ready to rule on intervention.
          Otherwise, the district court would start the clock on the
          prospective intervenor’s deadline to appeal before the
          prospective intervenor was granted party status—i.e., before
          the prospective intervenor has received permission to appeal
          the judgment at all. If the district court grants the motion to
          intervene and grants the (previously held) motion to extend
          the deadline to appeal, the intervenor will be a party when it
          appeals the merits. 10 A timely motion to extend the deadline
          to appeal, therefore, acts as a wedge that keeps the window
          for a prospective intervenor to appeal the merits open so long
          as there remains a possibility that a court might grant the
          prospective intervenor’s extension motion.

              We conclude that the mechanism for a district court to
          extend the time to appeal provided in Rule 4(a)(5) is
          available to a prospective intervenor. We next turn to
          whether Synopsys properly invoked Rule 4(a)(5).

                                           b.

              Synopsys argues that the district court properly
          construed the motion to intervene or the emergency motion
          for a stay as a motion to extend the time to file a notice of

              10
                 If the district court denies the motion to intervene and/or the
          motion to extend time, the denial of either or both motions can be
          appealed. See Corrigan v. Bargala, 140 F.3d 815, 817 n.3 (9th Cir.
          1998) (“The grant or denial of an extension of time to appeal is
          appealable pursuant to 28 U.S.C. § 1291.”); Citizens for Balanced Use,
          647 F.3d at 896 (“We have jurisdiction over the denial of a motion to
          intervene as of right as a final appealable order.”).
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page22
                                                               22ofof29
                                                                      29




          22                    EVANS V. SYNOPSYS

          appeal under Rule 4(a)(5). It is not clear whether that was
          the district court’s intent. Regardless, the district court could
          not construe either motion as a motion to extend the time to
          appeal because neither met the requirements of Rule 4(a)(5).
          We have held that Rule 4(a)(5) requires “a formal motion”
          that, among other things, “explicitly request[s] an extension
          of time.” Malone, 850 F.2d at 572. In Malone, a pro se
          prisoner sent a letter to the district court inquiring about the
          availability of an appeal and stating that he had been unable
          to communicate with his lawyer. We held that the district
          court erred in construing that letter as a motion to extend the
          time to appeal because the letter did not comport with Rule
          4(a)(5). Id. at 571–73. We have also held that even a late-
          filed notice of appeal—a document that unequivocally
          evinces a party’s intent to appeal—cannot be construed as a
          motion to extend the time to appeal. Pettibone v. Cupp,
          666 F.2d 333, 335 (9th Cir. 1981). Synopsys’s motion to
          intervene and emergency motion for a stay contemplated that
          Synopsys would likely wish to appeal if it did not win the
          relief it was seeking in its proposed crossclaim, but neither
          document “explicitly request[ed] an extension of time to
          appeal.” See Malone, 850 F.2d at 572. Synopsys, therefore,
          failed to file a document that complied with the requirements
          of Rule 4(a)(5).

              But that does not necessarily mean that the district
          court’s extension of Synopsys’s time to appeal was invalid.
          In Hamer, the Supreme Court distinguished between, on the
          one hand, “an appeal filing deadline prescribed by statute,”
          which “will be regarded as ‘jurisdictional,’” and, on the
          other hand, “a time limit prescribed only in a court-made
          rule,” which is “a mandatory claim-processing rule.”
          Hamer, 138 S. Ct. at 16. The distinction is often important,
          because contravention of a jurisdictional requirement
          “necessitates dismissal of the appeal” whereas “[m]andatory
          claim-processing rules are less stern” and “may be waived
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page23
                                                               23ofof29
                                                                      29




                                  EVANS V. SYNOPSYS                            23

          or forfeited.” 11 Id. at 16–17; see also Demaree v. Pederson,
          887 F.3d 870, 876 (9th Cir. 2018) (recognizing that Hamer
          rejected the rule that “all timeliness issues in notices of
          appeal are jurisdictional”). We have not previously decided
          whether the rule that a party must make a formal motion
          explicitly requesting an extension of time to appeal is a
          jurisdictional requirement contained in § 2107(c) or a
          mandatory claim-processing rule contained only in Rule
          4(a)(5).

              We need not resolve that question because, either way,
          we would conclude that the district court’s statements about
          preserving Synopsys’s time to appeal were ineffective. The
          Supreme Court has instructed that, “[i]f properly invoked,
          mandatory claim-processing rules must be enforced.”
          Hamer, 138 S. Ct. at 17; see also Nutrition Distrib. LLC v.
          IronMag Labs, LLC, 978 F.3d 1068, 1081 n.4 (9th Cir. 2020)
          (holding that “[e]ven if the timeliness issue were not
          jurisdictional,” so long as a party “did not waive or forfeit its
          timeliness objection[, w]e would . . . still be required to treat
          the appeal as untimely”). So long as DOL and CIR have
          properly invoked the argument that Synopsys failed to
          follow the rules for seeking an extension of time to appeal,
          we are obligated to enforce those rules.

              Here, DOL and CIR timely raised that the Rule 4(a)(5)
          procedures for extending the deadline to appeal had not been
          followed. Synopsys’s deadline to file a formal motion to
          extend its time to appeal was March 11, 2020. See Fed. R.
          App. P. 4(a)(5)(A). Until then, it was possible Synopsys
          would file a formal motion requesting such an extension.
              11
                 The Court in Hamer expressly “reserved whether mandatory
          claim-processing rules may be subject to equitable exceptions.” Hamer,
          138 S. Ct. at 18 n.3; see id. at 22. We decline to address that question
          here given that no party has raised the issue.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page24
                                                               24ofof29
                                                                      29




          24                       EVANS V. SYNOPSYS

          Once the deadline had passed and Synopsys had not done so,
          DOL and CIR raised the argument that intervention to appeal
          would be pointless because any notice of appeal would be
          untimely. In support of that argument, DOL explained that
          “Synopsys did not file a motion to extend [the] time period
          under Federal Rule of Appellate Procedure 4(a)(5),” and that
          the deadline to do so had expired on March 11, 2020.

              Synopsys argues that DOL and CIR forfeited that
          objection by not making it sooner. We disagree. DOL and
          CIR raised the issue about a month after the March 11
          deadline had passed, and they were not obligated to point out
          before that deadline that Synopsys was at risk of losing its
          ability to appeal the judgment. See Dolan v. United States,
          560 U.S. 605, 610 (2010) (explaining that a litigant forfeits
          the protection of a claim-processing rule’s deadline when it
          fails to “point[] out to the court that another litigant has
          missed such a deadline” (emphasis added)). Indeed, they
          may not have needed to raise the issue in the district court at
          all—as the district court noted in declining to respond to
          DOL and CIR’s Rule 4(a)(5) argument, the timeliness of an
          appeal is typically adjudicated by the appellate court. See
          United States v. Sadler, 480 F.3d 932, 940 (9th Cir. 2007)
          (“We, not the district court, are the ultimate arbiters of
          compliance with the rules governing the appellate
          process.”). 12



               12
                   In Hamer, the Supreme Court expressly reserved the question
          “whether respondents’ failure to raise any objection in the District Court
          to the overlong time extension,” in contravention of Rule 4(a)(5)(C), “by
          itself, effected a forfeiture.” 138 S. Ct. at 22. Unlike the respondents in
          Hamer, who did not raise their argument that a claim-processing rule had
          been violated until the court of appeals asked for additional briefing on
          the issue, id. at 18, DOL and CIR undisputedly raised their claim-
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page25
                                                               25ofof29
                                                                      29




                                   EVANS V. SYNOPSYS                             25

              Moreover, to the extent that Synopsys is arguing that
          DOL and CIR had an obligation to promptly inform the
          district court that it could not construe Synopsys’s motion to
          intervene or motion to stay as a motion to extend its time to
          appeal under Rule 4(a)(5), we disagree. Even assuming the
          district court had misapplied a claim-processing rule, that
          error was not apparent at the time. The district court never
          gave any express indication that it believed Rule 4(a)(5) had
          been invoked. And, indeed, in response to DOL’s April
          2020 filing, which argued that Synopsys had missed its
          deadline to request an extension of its time to appeal,
          Synopsys expressly disavowed that it even could file a
          motion to extend time under Rule 4(a)(5) because it had not
          yet been granted party status. We therefore need not decide
          whether an obvious misapplication of a claim-processing
          rule would trigger an obligation to promptly inform the
          district court of its error. 13

              Because DOL and CIR adequately invoked the rule that
          a district court may extend a litigant’s time to file a notice of

          processing argument in the district court, and Synopsys argues only that
          they should have made it sooner.
               13
                  To the extent Synopsys is arguing that DOL and CIR’s failure to
          inform the district court that it lacked authority to sua sponte preserve
          Synopsys’s deadline to appeal constituted a forfeiture, that argument also
          fails. If the district court had been acting sua sponte and was not
          construing Synopsys’s motions as a motion to extend time, that would
          have violated a jurisdictional requirement of 28 U.S.C. § 2107(c), which
          provides that a district court can extend a deadline to appeal only “upon
          motion filed.” See United States ex rel. Haight v. Cath. Healthcare W.,
          602 F.3d 949, 956 (9th Cir. 2010) (holding that “the requirement that a
          would-be appellant file a timely motion for an extension of time before
          such an extension may be granted” is jurisdictional). DOL and CIR’s
          argument that a district court lacks authority to sua sponte extend an
          appeal deadline cannot be waived or forfeited because it relates to a
          jurisdictional rule.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page26
                                                               26ofof29
                                                                      29




          26                    EVANS V. SYNOPSYS

          appeal only if that litigant requests an extension in a formal
          motion meeting the requirements of Rule 4(a)(5), we must
          enforce that rule. See Malone, 850 F.2d at 572–73; see also
          Hamer, 138 S. Ct. at 17. Accordingly, the district court’s
          statements that Synopsys’s time to appeal the judgment
          would be preserved had no effect, and Synopsys’s deadline
          to file a notice of appeal remained February 10, 2020.

                                         2.

              Synopsys argues in the alternative that its motion to
          intervene and brief in support of that motion—both filed
          eleven days before the deadline to appeal the judgment—
          should be construed as a timely notice of appeal. Rule 3
          specifies that a notice of appeal must contain three pieces of
          information: (1) the parties taking the appeal, (2) the order
          or judgment being appealed, and (3) the court to which the
          appeal is taken. Fed. R. App. P. 3(c). We have held that
          “documents which are not denominated notices of appeal
          will be so treated when they serve the essential purpose of
          showing that the party intended to appeal, are served upon
          the other parties to the litigation, and are filed in court within
          the time period otherwise provided by Rule 4(a).” Rabin v.
          Cohen, 570 F.2d 864, 866 (9th Cir. 1978). That is, “[i]f a
          document filed within the time specified by Rule 4 gives the
          notice required by Rule 3, it is effective as a notice of
          appeal.” Smith v. Barry, 502 U.S. 244, 248–49 (1992). But,
          “[a]lthough courts should construe Rule 3 liberally when
          determining whether it has been complied with,
          noncompliance is fatal to an appeal.” Id. at 248; see also id.
          (“Rule 3’s dictates are jurisdictional in nature, and their
          satisfaction is a prerequisite to appellate review.”).

              We hold that Synopsys’s motion to intervene cannot be
          construed as a notice of appeal because that motion did not
          satisfy the requirements of Rule 3. Fundamentally, a notice
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page27
                                                               27ofof29
                                                                      29




                                   EVANS V. SYNOPSYS                             27

          of appeal must put the parties on notice that an “appeal is
          [being] taken.” Fed. R. App. P. 3(c)(1)(B). Synopsys’s
          motion to intervene did not do so. Synopsys stated in its
          brief in support of its intervention motion that it was seeking
          to file substantive motions that, if successful, would have
          obviated the need for an appeal. Specifically, Synopsys
          stated that, if intervention were granted, it would “assert[] a
          crossclaim against DOL in the nature of a reverse FOIA
          action” and that it “anticipates that the parties will cross-
          move for summary judgment on the reverse FOIA
          crossclaim . . . and/or [that] Synopsys will seek
          reconsideration of the grant of summary judgment on the
          FOIA claim.” Synopsys went on to say that it “also seeks
          party status in order to appeal, if [the district court’s]
          December 10 ruling stands” (emphasis added). Synopsys’s
          statement that it would seek to appeal the summary judgment
          ruling was conditioned on that ruling surviving the motions
          for post-judgment relief that Synopsys still intended to bring
          in the district court.

              Because Synopsys was still actively seeking substantive
          relief from the judgment in the district court, its motion to
          intervene logically could not have been a notice of appeal. 14
          The Supreme Court has explained that “[t]he filing of a

              14
                 The only case Synopsys cites in which a motion to intervene has
          been construed as a notice of appeal, In re Grand Jury Proc. (Malone),
          655 F.2d 882 (8th Cir. 1981), is clearly distinguishable. The intervenor
          in Malone filed his motion to intervene with the court of appeals, in an
          already pending appellate proceeding before the Eighth Circuit. Id. at
          883. A different litigant in the case had filed a timely notice of appeal
          of the underlying order in the district court, vesting jurisdiction in the
          appellate court. Id. The court held that the motion to intervene in the
          appeal was the “the functional equivalent of a notice of appeal [and]
          would have been timely as such.” Id. at 885. Accordingly, the Eighth
          Circuit allowed the intervention to proceed. The intervenor in that case
          was not actively seeking any relief in the district court.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page28
                                                               28ofof29
                                                                      29




          28                       EVANS V. SYNOPSYS

          notice of appeal is an event of jurisdictional significance—it
          confers jurisdiction on the court of appeals and divests the
          district court of its control over those aspects of the case
          involved in the appeal.” Griggs v. Provident Consumer
          Disc. Co., 459 U.S. 56, 58 (1982) (per curiam). Synopsys’s
          motion to intervene cannot, as Synopsys contends, be the
          functional equivalent of a notice of appeal, because if it
          were, the district court would have been divested of
          jurisdiction to entertain the crossclaim that Synopsys was, in
          the very same filing, asking the district court to adjudicate. 15

                                             C.

              For the reasons above, Synopsys did not file a timely
          notice of appeal of the judgment in favor of CIR. We
          therefore lack jurisdiction to hear the merits of that appeal.
          See Hamer, 138 S. Ct. at 16. That determination moots

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                 We have held that when a prospective intervenor’s motion to
          intervene has already been denied but the time to appeal the merits has
          not yet expired, and the “putative intervenor wishes to press an appeal
          on the merits,” it is appropriate for that litigant to “file[] a notice of
          appeal from the order denying their motion to intervene, and a protective
          notice of appeal from the district court’s order on the merits.” Perry v.
          Schwarzenegger, 630 F.3d 898, 902–03 (9th Cir. 2011); see also
          15A Charles Alan Wright, Arthur R. Miller & Edward H. Cooper,
          Federal Practice and Procedure § 3902.1 (2d ed. rev. 2022) (“If final
          judgment is entered with or after the denial of intervention, however, the
          applicant should be permitted to file a protective notice of appeal as to
          the judgment, to become effective if the denial of intervention is
          reversed.”). The filing of a protective notice of appeal under those
          circumstances typically does not present the jurisdictional concerns or
          ambiguity discussed above, because the district court has already ruled
          on (and denied) the prospective intervenor’s motion to intervene. A
          protective notice of appeal ensures that the so-far unsuccessful
          prospective intervenor has filed a timely appeal of the underlying order
          or judgment and allows the court of appeals to reach the merits of the
          appeal if that court reverses the denial of the motion to intervene.
Case:
 Case 20-16416, 05/12/2022,Document
      4:19-cv-01843-KAW    ID: 12444940, DktEntry:
                                    96 Filed       112-1,Page
                                             05/12/22     Page29
                                                               29ofof29
                                                                      29




                              EVANS V. SYNOPSYS                   29

          DOL’s and CIR’s cross-appeals of the district court’s
          decision to grant Synopsys intervention to appeal the
          judgment. See CE Design, 731 F.3d at 730 (holding that,
          when a court of appeals “lack[s] jurisdiction to review the
          judgment” because there has been no timely appeal of that
          judgment, mootness precludes review of whether
          intervention to appeal should have been permitted).

                                     III.

             We dismiss for lack of jurisdiction Synopsys’s untimely
          appeal of the grant of summary judgment in favor of CIR,
          and we dismiss as moot CIR’s and DOL’s cross-appeals.
